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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

NORGAARD, O’BOYLE & HANNON
184 Grand Avenue
Englewood, New Jersey 07631
201-871-1333                                      Chapter 11
John O’Boyle, Esq. (JO - 6337)
joboyle@norgaardfirm.com
Attorneys for Debtor
In re:                                             Case No. 24-10402 JKS

      CHAMP ENTERPRISES, LLC,                      Hearing Date: N/A

                                Debtor.


     APPLICATION UNDER D.N. J. LBR 9021-1(b) IN LIEU OF MOTION FOR
        ENTRY OF CONSENT ORDER PERMITTING DEBTOR’S USE OF
   REAL PROPERTY AND RENTS, AND REQUIRING ADEQUATE PROTECTION

       Champ Enterprises, LLC, through its counsel Norgaard, O’Boyle & Hannon, applies as

follows:

       1.      The Debtor Champ Enterprises, LLC (the “Debtor”) commenced the above-

captioned case by filing a voluntary petition for relief under Chapter 11 of the Bankruptcy Code

on January 16, 2024. The Debtor owns and operates the real property commonly known as 148-

150 Lewis Street, Paterson, NJ (the “Property”), and is a single-asset real estate debtor under 11

U.S.C. Sec. 101(51B).

       2.      Since the commencement of the case, the Debtor has operated as debtor in

possession pursuant to 11 U.S.C. Sec. 1107 and 1108.

       3.      Wilmington Savings Fund Society, FSB d/b/a Christiana Trust, as Owner Trustee

of Residential Credit Opportunities Trust II (“Secured Creditor”) is the holder of the first mortgage

covering and the foreclosure judgment covering the Property.
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       4.      The Debtor and Secured Creditor have agreed to submit a Consent Order permitting

the Debtor to use the Property and to collect and use the postpetition rents produced by the Property

pursuant to 11 U.S.C. Sec. 363(c), et seq., subject to its payment of monthly adequate protection

payments to Secured Creditor.

       5.      The Debtor makes this Application Under D.N.J. LBR 9021-1(b) for entry of the

Consent Order in Lieu of Motion for authority to use cash collateral under 11 U.S.C. Sec. 363(c).

       6.      The Court may grant the relief sought herein pursuant to 11 U.S.C. Sec. 363(c)(2)

and Fed. R. Bankr. P. 4001(b).

       WHEREFORE, Applicant requests that this Court enter the Consent Order signed by

counsel to the Debtor and Secured Creditor.




Dated: 2/22/2024                                       ___/s/ John O’Boyle________
                                                             John O’Boyle, Esq.
